          IN THE GENERAL SESSIONS COURT OF MONTGOMERY COUNTY
                                TENNESSEE

RON WASHINGTON,

                        Plaintiff,                           Case No. GS2019-CV-149

v.

EQUIFAX,

                        Defendant.


                         NOTICE TO STATE COURT OF REMOVAL

         Defendant, Equifax Information Services LLC, ("Equifax"), incorrectly identified as

Equifax, by Counsel, filed a Notice of Removal in the Office of the Clerk of the United States

District Court for the Middle District of Tennessee on February 15, 2019. A copy of that Notice

of Removal is attached hereto as Exhibit A.

         PLEASE TAKE FURTHER NOTICE that, pursuant to 28 U.S.C. § 1446, the filing of the

Notice of Removal in the United States District Court for the Middle District of Florida, together

with the filing of that Notice with the Clerk of this Court, effects the removal of the above-styled

action to the United States District Court, and this Court may proceed no further unless and until

the case is remanded.

         Respectfully submitted this 15th day of February 2019.

                                              EQUIFAX INFORMATION SERVICES LLC


                                              Katy C. La er (~26 60)
                                              Evans Petree PC
                                              1715 Aaron Brenner Drive, Suite 800
                                              Memphis, TN 38120
                                              Tel: 901-525-6781
                                              Fax: 901-374-7548
                                              Email: klasie~r(ae~~anspetree.co~n



                                                 1
     Case 3:19-cv-00154       Document 1-2      Filed 02/15/19     Page 1 of 2 PageID #: 25
                                  CERTIFICATE OF SERVICE

        I hereby certify that on the 15th day of February 2019, I filed the foregoing with the

Clerk of Court via facsimile at 931-648-5729, and a true and correct copy of saved was served on

the Plaintiff via U.S. Mail at:

Ron Washington
1492 Mutual Dr.
Clarksville, TN 37042

                                                    By:                    r       ~
                                                          at C. L ter




                                                2
  Case 3:19-cv-00154          Document 1-2    Filed 02/15/19     Page 2 of 2 PageID #: 26
